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                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION

LARRY COLEMAN, CHESTER                        )
COLEMAN, and FREDDIE                          )
SELTZER,                                      )
                                              )
Plaintiffs,                                   )
                                              )      CIVIL ACTION NO.:
vs.                                           )      2:18-CV-00248-LSC
                                              )
MORRIS-SHEA BRIDGE COMPANY                    )
and RICHARD J. SHEA, JR.                      )
                                              )
                                              )
Defendants.                                   )


         DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT AND
                       BRIEF IN SUPPORT


       Pursuant to Rule 56 of the Federal Rules of Civil Procedure, Defendants

Morris-Shea Bridge Company, Inc. (“MSB”) and Richard J. “Dick” Shea, Jr.

(“Shea”) (collectively, “Defendants”) move this Court to enter summary judgment

in their favor on all of Plaintiffs’ claims. There is no genuine issue of material fact

and Defendants are entitled to a judgment as a matter of law. In support of this

motion, Defendants rely upon the Undisputed Statement of Facts and brief herein

and the documentary evidence included in its Evidentiary Submission in Support of

Motion for Summary Judgment filed contemporaneously herewith.
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                                       INTRODUCTION

       Plaintiffs’ Complaint, with five hundred paragraphs and twenty-two separate

causes of action, is a “kitchen sink” approach. That may suffice at the motion to

dismiss stage, but not at summary judgment. The undisputed facts do not support

Plaintiffs’ claims under any theory of discrimination, and summary judgment should

be entered dismissing all of Plaintiffs’ claims.

                           STATEMENT OF UNDISPUTED FACTS

I.     MSB’s History and Background.

       1.      MSB is a leading deep foundations contractor working in heavy civil

industrial and marine construction markets, throughout the United States and

abroad.1 See Declaration of Richard J. Shea, III (“R. Shea Dec.”), Exhibit A, ¶ 3.

       2.      Richard J. “Dick” Shea is the President of MSB. See Deposition of

Richard “Dick” J. Shea, Jr. (“D. Shea Dep.”), Exhibit B, p. 14:14-16.

       3.      In terms of foundation piling work, MSB specializes in two primary

distinct and separate types: (1) driven piles, where piling material is driven into the

ground to a specified depth or to the point of “refusal” of the pile using a hydraulic

hammer or similar tool, somewhat analogous to driving a nail with a handheld

hammer; and (2) drilled piles, where a borehole is drilled into the ground and



       1
        “Deep foundation” refers to a type of foundation that transfers building loads deeper into
the ground to provide more stability for heavier structures.


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reinforced concrete is filled into the borehole to form the pile. Ex. A, R. Shea Dec.,

¶¶ 4-6; see also Deposition of Richard J. Shea, III (“R. Shea Dep.”), Exhibit C, pp.

38:10-41:18 (describing pile-driven foundations as opposed to drilled foundations).

      4.     Driven piles typically involve the use of a crane. Ex. A, R. Shea Dec.,

¶ 9. The crane will lift and “set” the pile in a template before it is driven, and a crane

will operate the hammer that is used to drive the pile into the ground. Id.

      5.     There are many companies that perform pile driving work.

Competition is intense and, as a result, profit margins are generally fairly low in the

pile driving side of MSB’s business. Id. at ¶ 5.

      6.     For MSB’s drilled piling projects, MSB uses a proprietary soil

displacement pile system, which involves a drilling operation to install soil

displacement piles. Id. at ¶ 6. MSB uses drill rigs to auger into the soil using a

specialized tool. Id. The spoils are not brought to the surface but instead forced into

the sidewall of the pile, thus providing load bearing capacity through sidewall

friction in addition to tip or end bearing capacity. Id.

      7.     The technology, equipment, skills, tooling and craftsmanship for

installing drilled piles such as MSB’s drilled DeWaal Piles are very different from

that required for the traditional driven pile system, and the construction techniques

are different from one another. Id. at ¶ 7. As a result, many of MSB’s field crews

specialize in driven piles (pile driving) or in drilled piles, but not both. Id.



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      8.     Around 2010, OSHA enacted regulations requiring that crane operators

be licensed by an accredited organization. Id. at ¶ 9. The two most widely known

accrediting organizations are the National Commission for the Certification of Crane

Operators (“NCCCO”) and Crane Institute Certification (“CIC”). Id. at ¶ 9.

      9.     The OSHA requirement’s effective date was delayed to 2018. Id. at ¶

9. Nonetheless, beginning around 2010, most of MSB’s customers began requiring

that all crane operators have NCCCO or CIC licenses. Id.; see also Ex. C, R. Shea

Dep., pp. 51:21-52:2; 53:3-54:3.

      10.    As a result, MSB employees who had operated cranes doing pile

driving but who did not have an NCCCO or CIC accreditation had fewer and fewer

opportunities to work as a crane operator. Ex. A, R. Shea Dec., ¶ 9.

      11.    In addition, those employees who had NCCCO or CIC accreditation

had more desirable job qualifications and typically commanded higher wages than

those who did not have that accreditation. Id.

      12.    Cranes are not generally used in MSB’s drilling operations or DeWaal

Pile System. Id. at ¶ 10. Rather, MSB uses drill rigs. Id. These drill rigs are

classified as “excavators,” not “cranes,” by OSHA. Id.; see also Ex. C, R. Shea

Dep., p. 50:21-23 (“[A]ll of our drill rigs are classified by OSHA as excavators.”).

      13.    As a result, NCCCO and CIC licensing requirements are not applicable

to drill rigs. Ex. A, R. Shea Dec., ¶ 10; Ex. C, R. Shea Dep., pp. 50:21-51:2.



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      14.    Nonetheless, drill rigs are expensive, complex, and highly sophisticated

pieces of equipment. Ex. A, R. Shea Dec., ¶ 11. MSB’s drill rigs typically cost $5

million or more apiece. Id. Drill rigs are not used for pile driving. Id.

      15.    Operating a crane and operating a drill rig are two separate and distinct

skill sets. Id. at ¶ 12; Ex. C, R. Shea Dep., p. 56:7-9 (crane operator and excavator

operator are “[t]wo different trades”). Being qualified on one does not qualify that

individual to operate the other. Ex. A, R. Shea Dec., ¶ 12.

      16.    Drilling projects are “more complex” than pile-driving projects, and

more demanding for supervisors than a pile driving job. Ex. C, R. Shea Dep., pp.

101:6-14; 104:11-14; 106:3-22.

      17.    As a result, generally speaking, drilling employees are paid more than

pile driving employees. Ex. A, R. Shea Dec., ¶ 14; Ex. C, R. Shea Dep., p. 101:6-

14 (“A pile-driving superintendent would not make … as much as a drilling

superintendent, because the drilling jobs are much more complex.”); id. at 186:17-

187:13 (drill rig operators are “in very high demand,” and consequently may be

guaranteed 40 hours a week whether they work that many hours or not).

II.   MSB’s Workforce and Salary Structure.

      18.    As is common in the construction industry, MSB’s workforce fluctuates

depending on the number of projects at a given time, with approximately 500




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employees on the high end and 150 employees on the low end when business slows.

Ex. B, D. Shea Dep., pp. 26:14-27:6.

      19.     MSB divides its employees into various “crafts” (i.e., laborer, crane and

drill operator, etc.), with classification levels based on skill level and years of

experience; classification Level I is the highest and Level III the lowest. MSB

Orientation Policy, Exhibit D, at MSB 0015-26; Ex. C, R. Shea Dep., p. 60:5-8.

      20.     While classification levels impact an employee’s rate of pay, other

factors, including the type of project (drilling vs. pile driving), are also relevant. Ex.

C, R. Shea Dep., pp. 101:6-9; 104:11-14.

      21.     Hiring decisions for supervisory positions, like foreman and

superintendent, are generally made by Dick Shea or Richard, Steve, or Bill Shea.2

Ex. C, R. Shea Dep., pp. 250:20-251:16. Hourly positions, on the other hand, are

often filled by the supervisors on the job (i.e., superintendent or foreman). Id.; Ex.

B, D. Shea Dep., p. 377:1-7 (“[E]ach foreman generally hires his own guys.”).

      22.     In addition, supervisors make suggestions with respect to pay decisions

for their crew. Ex. B, D. Shea Dep., pp. 379:8-380:17 (foremen and superintendents

can “suggest a pay raise or demotion or whatever” for their crew).




      2
         Richard, Steve, and William “Bill” Shea are Dick Shea’s three sons and the Vice
Presidents of MSB. Ex. B, D. Shea Dep., pp. 15:10-16:18.


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       23.     Supervisory positions, such as foreman and superintendent, are

generally paid salary. Ex. C, R. Shea Dep., p. 115:5-16 (“Q: So superintendent and

foreman are both salaried? A: Yes ….”).

       24.     Salaried employees, like hourly employees, have a base rate of pay

based on the particular employee’s skill level, years of experience, and type of

project (i.e., pile-driving vs. drilling.); id. at pp. 115:17-116:16 (“Not every [foreman

is] going to be at that rate because some of them have more ability than others ….

more experience than others.”); see also Ex. D, Orientation Policy, Section 5.3

       25.     In addition to salary and hourly wages, MSB also pays “per diem” on

certain out-of-town projects. Ex. D, Orientation Policy, Section 5.

       26.     Like rate of pay, per diem “fluctuates by area” and other factors like the

cost of living and time of year. Ex. C, R. Shea Dep., pp. 67:14-68:18. Other factors

like employee position and distance of travel required also may affect per diem rates.

Id.; see also May 28, 2020 Deposition of Lee Dubberly (“Dubberly Dep. II”),

Exhibit E, pp. 200:17-201:2 (per diem rate is “based on your job function”).

       27.     MSB’s normal hours are 7:00 a.m. to 5:30 p.m., Monday through

Friday, with thirty minutes for lunch. Ex. D, Orientation Policy, at MSB 0008.




       3
         The Orientation Policy has not been updated since 2011, and thus, the wage scale is not
up to date. See Ex. C, R. Shea Dep., pp. 68:19-69:14.


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       28.      Hourly employees required to work overtime in excess of forty hours a

week or on scheduled holidays are paid at one and one-half times the employee’s

normal hourly rate of pay. Id. at MSB 0008.

       29.      Salary positions are paid at the employee’s base rate of pay each week

plus an additional eight hours at their calculated hourly rate anytime the employee

works on a Saturday or Sunday. Ex. B, D. Shea Dep., pp. 240:14-16; 427:18-428:2;

503:8-18.

III.   Plaintiffs’ Employment With MSB.

       30.      Plaintiffs are three African American brothers, Larry Coleman

(“Larry”) Chester Coleman (“Chester”), and Freddie Seltzer (“Freddie”), who each

worked for MSB, on and off, over a period extending over 25 years until their final

separation from employment with MSB in April 2017.4 See Pls’ Employee Files,

collectively attached as Exhibit F.

       31.      At the time of their separation, Larry was 59 years old (id. at MSB

0489); Chester was 55 (id. at MSB 0157); and Freddie was 52 (id. at MSB 0961).




       4
         The Parties dispute whether Plaintiffs were terminated or laid off but for purposes of
summary judgment, it is sufficient to note that Plaintiffs separated from employment with MSB in
April 2017 and were not rehired.



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       A.       Larry Coleman.

       32.      Larry Coleman was first hired by MSB in 1980 and worked in various

positions, on and off, ranging from laborer to pile-driving foreman until 2014,5 when

he quit MSB without notice and joined a competitor, Berkel. Deposition of Larry

Coleman (“L. Coleman Dep.”), Exhibit G, pp. 40:9-20; 57:6-8; 310:16-20; Ex. C,

R. Shea Dep., 368:1-369:14.

       33.      After several months with Berkel, Larry filed a job application with

MSB seeking a “Superintendent” position. Ex. F, at MSB 0484.

       34.      Larry was rehired by Dick Shea in September 2014 as a pile-driving

foreman, a salaried position with a rate of pay of $35/hour. Id. at MSB 0483, 0496;

L. Coleman Dep., pp. 311:5-312:16 (Dick Shea rehired him in 2014).6

       35.      As a salaried foreman, Larry was paid $1,400 per week, plus an

additional $35/hr for eight hours whenever he worked on Saturday or Sunday. Ex.




       5
         In the late 1990s, while working on a project in Bowater, Tennessee, Larry was briefly
promoted by Dick Shea to superintendent after Lee Dubberly was called to another job. Ex. G, L.
Coleman Dep., pp. 66:18-67:12. As Larry explained, if a superintendent was called to another job,
the foreman on the job was designated as the superintendent to finish it out. Id. at 68:7-19.
       6
          Larry testified that his rehire position was “Superintendent/Foreman,” which is belied by
his Employee File. See Ex. F, at MSB 483 (position listed as “Foreman”). In any event, this is a
distinction without a difference because Larry testified that as a “Superintendent/Foreman,” his
duties were to run the crew and answer to the head superintendent on the job, typically Lee
Dubberly. Ex. G, L. Coleman Dep., pp. 83:15-23; 223:8-224:2; 342:9-17. In other words,
regardless of nomenclature, his duties were those of a foreman. Ex. B, D. Shea Dep., p. 123:8-
124:9 (Larry was a “foreman,” whose job was to “oversee the crew that was doing the work”).


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F, at MSB 00483, 00496; Ex. G, L. Coleman Dep., pp. 346:19-347:14 (MSB paid

salaried employees when they worked on a Saturday or Sunday).

      36.   Larry described his role as a foreman as a “management position,” in

which he was responsible for “run[ning] a crew” of approximately seven men. Ex.

G, L. Coleman Dep., pp. 41:4-18; July 11, 2019 Deposition of Lee Dubberly

(“Dubberly Dep. I”), Exhibit H, p. 35:13-15 (foreman is “considered a supervisor”).

      37.   His duties included “giv[ing] out work assignment[s], mak[ing] sure

that [the crew] did what they was (sic) assigned to do.” Ex. G, L. Coleman Dep., p.

41:9-13; Ex. B, D. Shea Dep., pp. 123:8-124:9 (“His job was to oversee the crew

that was doing the work” and “direct[] the work of four or five guys that were

working.”); id. at 397:16-398:6 (describing the foreman’s role as “directly

manag[ing], while he was working, this crew of men,” and making sure that the crew

was “doing their work safely … and properly.”).

      38.   He also was responsible for documenting and turning in his crew’s

time, Ex. B, D. Shea Dep., p. 125:20-21, and reported to the head superintendent on

the job, who reported directly to Dick Shea. Ex. G, L. Coleman Dep., p. 83:15-22.

      39.   Over his years of employment, Larry never asked Dubberly, Dick Shea,

or anyone else at MSB for a promotion or “additional training,” and instead MSB

“just elevated [him]” at various times. Ex. G, L. Coleman Dep., pp. 352:21-353:23.




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      B.     Chester Coleman.

      40.    Chester Coleman was hired in 1992 and worked for MSB on and off

through his final separation in April 2017. Deposition of Chester Coleman (“C.

Coleman Dep.”), Exhibit I, p. 15:10-14.

      41.    Chester’s most recent position was as a pile driving crane operator, an

hourly position with a rate of pay of $25/hr. Id. at pp. 18:2-4; 47:15-17.

      42.    Chester was neither NCCCO- nor CIC-licensed, Id. at p. 21:2-4, which

limited the jobs upon which he was able to work. Ex. A, R. Shea Dec., ¶ 9; Ex. C,

R. Shea Dep., pp. 53:17-54:3 (“[A]ny of the major companies … require that if you

have a crane, it has to be a licensed crane operator, and it has to be an NCCCO.”).

      43.    Chester also was not qualified to operate a drill rig despite MSB’s

efforts to train him. Chester testified that MSB “wanted [him] to learn how” to drive

a drill rig and gave him the opportunity in 2007; however, he damaged the mast of

the rig, which cost MSB over $100,000 to replace. Ex. I, C. Coleman Dep., pp. 26:3-

27:9; Deposition of Shane Moore (“Moore Dep.”), Exhibit J, pp. 147:4-148:7.

      44.    In 2012, Shane Moore tried again to train and qualify Chester to operate

a drill rig, but Chester failed the certification exam. Ex. J, Moore Dep., pp. 148:8-

149:13; Equipment Operator Practical Examination Form, Exhibit K, at MSB 2728.




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      45.    Chester testified that when he started operating a crane, he asked for a

raise and received it. Ex. I, C. Coleman Dep., p. 47:5-11. When asked whether he

requested any other raises at MSB, Chester responded, “No.” Id. at 47:12-14.

      46.    The only position above operator, in Chester’s view, was

superintendent, and Chester confirmed that he never “asked for that” or any other

promotions or additional training during his employment. Id. at 47:2-4; 47:18-48:3.

      47.    Over his years of employment, MSB accommodated Chester on

multiple occasions. Between September 2008 and January 2009, Chester was paid

his normal rate of pay during extended periods of leave while his wife was sick. Id.

at pp. 30:13-31:10. In 2014 when Chester was diagnosed with cancer and unable to

work, MSB kept him on the payroll and maintained his medical insurance

throughout his entire one-year absence. Id. at pp. 28:6-29:13. Chester admitted that

“[Shea] helped me. I can’t deny that.” Id. at 29:23-30:12.

      C.     Freddie Seltzer.

      48.    Freddie Seltzer was hired in 1989 and worked for MSB on and off

through his separation in April 2017. Deposition of Freddie Seltzer (“Seltzer Dep.”),

Exhibit L, p. 25:5-8.

      49.    Freddie’s most recent position was as a welder on pile driving jobs, an

hourly position with a rate of pay of $20.50. Ex. F, at MSB 0725.




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       50.      Freddie testified that over the years with MSB, he got several raises.

Ex. L, Seltzer Dep., p. 57:5-19 (“[E]very so often I get a raise like anybody else.”).

       51.      Freddie testified that at one point he wanted to be promoted to foreman,

but the only person at MSB he told was his brother, Larry Coleman, who promised

he would help but never “follow[ed] through.” Id. at pp. 88:9-89:14. Freddie

confirmed that there were no jobs at MSB that he was denied, and no tests or training

that he wanted to take but was not given the opportunity. Id. at 89:15-90:6.

IV.    Plaintiffs’ Separation of Employment with MSB.

       52.      The last major customer paying job for which the Plaintiffs worked was

job number 1271 at the Tampa Electric Company (“TECO”) facility in Florida,

which concluded in April 2016. See Pls’ Ledger Card Reports, Exhibit M, at MSB

005079-5085 (Larry); MSB 005147-5154 (Freddie); MSB 005287-5294 (Chester).

       53.      On the TECO project, Plaintiffs each received their regular rate of pay,

id., and a per diem of $75 to $85 for Larry; $60 to $85 for Chester; and $50 to $70

for Freddie. 1271 EE Per Diem, Exhibit N.7

       54.      Dubberly and Sam Gardner, both white superintendents, received a $75

to $85 per diem throughout the TECO Project, while the remaining crew members

made between $50 to $75. See id.

       7
          During the snowbird season in Florida, Plaintiffs’ superintendent Lee Dubberly
negotiated a higher per diem for his work crew, including Plaintiffs, which is why their per diems
increased. See Declaration of Lee Dubberly (“Dubberly Dec.”), Exhibit O, MSB 1561, at ¶ 3.



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       55.      Following the conclusion of the TECO Project in April 2016, Plaintiffs

were assigned to a special project at Mountain Lake Farms (the “Mountain Lake

Farms Project”), and in April 2017, Plaintiffs were assigned to a special project at

Richard Shea’s residence (the “Shea Residence Project”).8 Ex. M, at MSB 005094-

5100 (Larry); MSB 05160-5166 (Freddie); MSB 05304-5309 (Chester).

       56.      Both of these projects were classified as “non-equipment” projects that

could have been performed by day laborers for $10.00 to $15.00 per hour. See id.

(classifying Job No. 7999 as “Non-Equipment”); see also Ex. B, D. Shea Dep., pp.

87:8-89:1 (“[Plaintiffs’] level of pay was not cut to labor [at the Mountain Lake or

Shea Residence Projects], which is all we really needed out there … it was just

laborer’s work we were doing.”); Ex. C, R. Shea Dep., p. 205:3-16 (“It was just

laborer’s work … dragging tree limbs and stuff to the chipper or things like that.”).

       57.      However, in an effort to keep some of its long-time employees gainfully

employed, MSB chose to use workers like Plaintiffs and continued their usual rate

of pay. Ex. B, D. Shea Dep., at 88:18-89:1 (“[R]ather than let [Plaintiffs] be at home

and have some of our lower-skilled laborers that we laid off out there working, … I

would always use guys that worked for us that I didn’t want to lay off ...”); Ex. C,




       8
        “Special projects” were not regular revenue producing work, but projects to keep certain
employees working rather than being laid off between revenue producing projects. See Ex. C, R.
Shea Dep., p. 191:5-8; id. at 194:19-22; see also Ex. B, D. Shea Dep., pp. 113:23-114:12; Ex. G,
L. Coleman Dep. p. 155:1-7.


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R. Shea Dep., p. 205:13-16 (“They didn’t have a paying job for the company to go

to, so we kept them busy at my house … [and] at the lake before that.”).

      58.   For both of these projects, Larry received $35/hr; Chester received

$25/hr; and Freddie received $20.50/hr. Ex. M, at MSB 005094-5100 (Larry); MSB

05304-5309 (Chester); MSB 05160-5166 (Freddie).

      59.   Because both of these projects were local, meaning the employees

returned home each evening, MSB was not obligated to pay a per diem; however,

MSB provided a per diem of $75 for Larry and Chester and $65 for Freddie.

Declaration of Jimmy Harris (“Harris Dec.”), Exhibit P, MSB 1852, at ¶ 5; Ex. O,

Dubberly Dec., MSB 1562, at ¶ 5; Ex. E, Dubberly Dep. II, p. 200:6-9 (MSB paid

per diem on these projects as a “supplement … just trying to help them”).

      60.   In addition, Dick Shea let Plaintiffs fish on the Property after work

during the Mountain Lake Farms Project. Ex. L, Seltzer Dep., pp. 110:9-112:7.

      61.   During these projects, Plaintiffs’ supervisors, including Shea and

Jimmy Harris, perceived a decline in Plaintiffs’ work ethic and performance. Ex. B,

D. Shea Dep., pp. 100:1-20; 101:20-102:4; Deposition of Jimmy Harris (“Harris

Dep.”), Exhibit Q, pp. 57:4-58:9; Ex. P, Harris Dec., MSB 1852, at ¶ 6.

      62.   According to Shea, he had observed Plaintiffs coming “late to work, …

not working diligently, … and … taking too long for lunch” at both the Mountain




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Lake Project and the Shea Residence Project. Ex. B, D. Shea Dep., pp. 100:13-20;

101:20-102:4. In Shea’s opinion, “they weren’t doing their job.” Id. at 97:19-21.

      63.    Jimmy Harris, a superintendent who worked with Plaintiffs at both

projects, also observed Plaintiffs take excessively long lunch breaks and specifically

recalled telling Larry to tighten up on the thirty-minute lunch policy while at the

Shea Residence Project. Ex. Q, Harris Dep., pp. 57:4-58:9.

      64.    On April 10, 2017, Plaintiffs were working as part of a small crew at a

at Richard Shea’s residence, along with Dick Shea and superintendents Lee

Dubberly and Jimmy Harris, clearing rocks, stumps, sticks, and other debris from

the topsoil around the property. Ex. B, D. Shea Dep., pp. 561:18-562:7.

      65.    Shea was operating a backhoe while Dubberly was operating a dozer.

Id. at p. 561:20-21.

      66.    When the crew broke for a thirty-minute lunch, Chester and Freddie

drove to a convenience store to pick up lunch. Ex. L, Seltzer Dep., pp.121:20-122:9.

      67.    The Parties dispute whether Chester and Freddie were late returning

from lunch, but Freddie testified that upon their return, Larry approached and asked

whether they were “going to take all day” and told them that Shea was “down the

hill mad.” Id. at p. 131:9-21. Freddie said he later learned from Larry that Shea

“said [they were] late for coming back from lunch.” Id. at 134:9-13. Chester also

testified that he understood Shea sent them home because “he got it in his head – I



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guess he was complaining about we were taking a long lunch break.” Ex. I, C.

Coleman Dep., p. 70:14-18. When asked why he believed that, Chester responded,

“Because when I got back, that’s what Larry said. He said that he [Shea] asked

where we was ….” Id. at 71:2-6.

       68.    Larry testified that when Freddie and Chester returned from the

convenience store, “they didn’t get out [of the truck] exactly when they drove up,”

and Shea asked, “[H]ow long they taking for lunch?” Ex. G, L. Coleman Dep., p.

180:10-16. Larry did not think Freddie and Chester took too long for lunch but

acknowledged that Shea “thought that they took more than 30 minutes.” Id.

       69.    Larry then told Chester and Freddie they needed to go home, and when

they asked why, Larry responded, “I think I believe that Dick Shea thought they took

too long for lunch.” Id. at p. 182:9-21. Because Larry rode with Chester and

Freddie, all three Plaintiffs left the job site. Id. at 183:1.

       70.    According to Shea, he did not intend to terminate Plaintiffs.

       When I told Jimmy Harris to send them home, … that was meant for
       them to go home, think about what they’re doing. And then generally,
       they would call and say, hey, we want to come back to work, and we’d
       have a discussion, they’d come back to work. That … was the way that
       I operated, you know, from the beginning right through this time. If
       they don’t want to work, fine, go home, not going to argue with them.

Ex. B, D. Shea Dep., p. 161:1-12.

       71.    Larry returned to the job site the next day, and Shea instructed Harris

to send him home. Id. at 162:17-23.


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       72.     MSB transferred three current employees to replace Plaintiffs: Sam

Gardner, a 54-year-old white superintendent; Larry Young, a 46-year-old African

American foreman; and Tony Dennis, a 44-year-old white foreman. Ex. P, Harris

Decl., ¶ 10.

       73.     The following Monday, April 17, 2017, Dubberly submitted timesheets

for the crew at the Shea Residence Project, including a timesheet for Larry, Chester

and Freddie, and MSB paid Plaintiffs for all of the hours submitted. See Declaration

of Linda Catlin (“Catlin Decl.”), Exhibit R, MSB 1854-1855 at ¶¶ 3-4.

       74.     Larry’s timesheet reflected eight (8) hours of work for both Monday,

April 10, 2017, and Tuesday, April 11, 2017. Id. at ¶ 4. Chester and Freddie’s

timesheets each reflected six (6) hours of work for Monday, April 10, 2017. Id.

       75.     Linda Catlin in Payroll asked Dubberly the employment status of

Plaintiffs, and Dubberly told her that Shea had sent them home but that he did not

know whether they were fired or laid off. Id. at ¶ 3.

       76.     Dubberly did not complete Payroll Change Notices (“PCNs”) for

Plaintiffs, as is MSB’s employment policy. Id. Instead, on April 18, 2017, Chris

Hughes, another MSB supervisor, informed Catlin he believed that Plaintiffs were

fired, and Catlin completed a PCN for Plaintiffs reflecting their termination. Id. at

¶ 5.




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       77.      On May 11, 2017, Dubberly called Chester about a pile-driving job for

Alabama Power Company at its steam plant in Wilsonville, Alabama, but Chester

declined the offer.9 Ex. E, L. Dubberly Dep. II, pp. 37:12-38:12.

       78.      Chester testified Dubberly called him and “asked [him] if [he] was

available to go to work,” but he declined. Ex. I, C. Coleman Dep., pp. 54:14-55:6.

       79.      After their separation from employment with MSB, Larry and Freddie

both applied for disability with the Social Security Administration and are receiving

benefits. Ex. G, L. Coleman Dep., pp. 194:13-195:4; Ex. L, Seltzer Dep., p. 156:

21-23. Based on Freddie’s application and representations to the SSA, he was

determined disabled “as of March 30, 2017.” See Social Security Administration

Notice of Decision, attached as Exhibit S.10                     Plaintiffs also applied for

unemployment compensation with the State of Alabama Department of Labor. See

Pls’ Department of Labor Records, Exhibit T. Larry and Chester both cited “lack

of work” as the reason they were unemployed. Id. at L. Coleman ALDOL 000025

and C. Coleman ALDOL 000026.



       9
          The Parties dispute whether Dubberly also asked Chester about Larry and Freddie’s
availability for the Wilsonville Plant job. In any event, both Larry and Freddie applied for and are
receiving disability benefits. See SOF ¶ 79.
       10
          Defendants issued a subpoena to the SSA for Larry Coleman’s records on October 31,
2019, and issued a subpoena for Freddie’s records on March 17, 2020. Defendants have been
diligently pursuing Plaintiffs’ complete records since then, including filing a motion to compel the
SSA to comply. Upon receipt of complete records, Defendants will supplement this Motion, if
necessary.


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      80.    Freddie represented that he was terminated for “violation of company

policy.” Id. at Seltzer ALDOL 000032. In response to an inquiry regarding the

“name and title of person who discharged you,” Freddie identified “Jimmy Harris

and Larry Co.,” the later appearing to be a reference to his brother and foreman on

the Shea Residence Project, Larry Coleman. See id. Seltzer ALDOL 00033.

                              STANDARD OF REVIEW

      Summary judgment is proper “if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of

law.” Fed. R. Civ. P. 56(a). In opposing summary judgment, the non-moving party

may not rely on the pleadings but must show evidence that material facts exist

demonstrating a genuine issue for trial. Celotex Corp. v. Catrett, 477 U.S. 317, 322-

23 (1986). “A genuine issue of material fact does not exist unless there is sufficient

evidence favoring the nonmoving party for a reasonable jury to return a verdict in

its favor.” Chapman v. A1 Transp., 229 F.3d 1012, 1023 (11th Cir. 2000) (en banc).

      As set forth more fully below, there is no genuine issue of material fact and

Defendants are entitled to judgment as a matter of law on all of Plaintiffs’ claims.

                          ARGUMENT AND AUTHORITIES

I.    Plaintiff Larry Coleman’s Fair Labor Standards Act Claim Fails as a
      Matter of Law.

      The Fair Labor Standards Act, 29 U.S.C. § 207 et seq. (“FLSA”) governs

overtime requirements for employees covered under the Act. Covered employees


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must be paid time and one-half for hours worked in excess of forty in a given

workweek. Id. § 207(a)(1). However, the FLSA exempts from the overtime

requirement persons “employed in a bona fide executive, administrative, or

professional capacity.” Id. § 213(a)(1). The employer bears the burden to establish

that it is entitled to an exemption. Alvarez Perez v. Sanford-Orlando Kennel Club,

Inc., 515 F.3d 1150, 1156 (11th Cir. 2008).

       An employee is properly classified as a bona fide executive, and therefore

exempt from the overtime requirements, if: (1) he is “[c]ompensated on a salary basis

at a rate of not less than $455 per week”; (2) his “primary duty is management of the

enterprise in which [he] is employed or of a customarily recognized department or

subdivision thereof”; (3) he “customarily and regularly directs the work of two or

more other employees”; and (4) he “has the authority to hire or fire other

employees,” or his “suggestions and recommendations as to the hiring, firing,

advancement, promotion[,] or any other change of status of other employees

are given particular weight.” See Watkins v. City of Montgomery, 919 F. Supp. 2d

1254, 1259-60 (M.D. Ala. 2013) (quoting 29 C.F.R. § 541.100).11

       The undisputed evidence establishes that Larry Coleman was an executive for

purposes of the FLSA and is therefore exempt from the overtime requirements.

       11
          In January 2020, the FLSA’s salary threshold was increased to $648 per week, but during
the relevant time period, it was $455 per week. In any event, Larry Coleman’s salary exceeded
the CFR’s minimum requirements under either amount.



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       First, during the relevant time period,12 Larry was employed by MSB as a

foreman for which he was compensated on a $1,400/week salary ($35/hr for forty

hours), well in excess of the $455 per week minimum set out in the CFR. SOF, ¶

35.13 This first factor is easily satisfied.

       Second, Larry’s “primary duty” as a foreman was the management and

supervision of a work crew. The CFR defines “primary duty” to mean the “principal,

main, major or most important duty that the employee performs.” 29 C.F.R. §

541.700(a). This determination “must be based on all the facts in a particular case,

with the major emphasis on the character of the employee’s job as a whole.” Id.

Relevant factors include (1) the relative importance of the management duties as

compared with other types of duties; (2) the amount of time spent performing

management duties; (3) the employee’s relative freedom from direct supervision; (4)

and the relationship between the employee’s salary and the wages paid to other

employees for the kind of non-management work performed by the employee. Id.




       12
          Claims under the FLSA are subject to a two-year statute of limitations, except in cases
involving a willful violation of the Act, for which a three-year statute of limitations applies. See
29 U.S.C. § 255(a); McLaughlin v. Richland Shoe Co., 486 U.S. 128, 133 (1988). Defendants
dispute that MSB violated the FLSA at all or that any conduct on its part was willful; however, for
purposes of this motion, Defendants will assume that the three-year statute of limitations applies,
and, accordingly, Larry’s claims for violations of the FLSA preceding February 14, 2015, at the
very earliest, are barred by the statute of limitations.
       13
            The Undisputed Statement of Facts is cited herein as “SOF.”


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       In his deposition, Larry agreed that a foreman is a “management position,”

and testified that he was responsible for “run[ning] a crew” of approximately seven

men. SOF, ¶ 36. His duties included “giv[ing] out work assignment[s], mak[ing]

sure that [the crew] did what they was (sic) assigned to do.” SOF, ¶ 37. He was

responsible for documenting and turning in his crew’s time on a job, and he reported

to the head superintendent on the job, who reported directly to Dick Shea, the

President of the Company. SOF, ¶ 38.

       While Larry also performed “non-executive” tasks such as working alongside

his crew, the regulations provide that “[c]oncurrent performance of exempt and

nonexempt work does not disqualify an employee from the executive exemption.”

29 C.F.R. § 541.106(a). For example, an assistant restaurant manager may perform

work such as serving customers, cooking food, and stocking shelves but does not

lose his exemption if his “primary duty” is management of the establishment. Id.

       Similarly, Larry could permissibly work along with his crew without losing

his exempt status because his “primary duty” as foreman was supervision and

management of his crew.14 SOF, ¶ 37 (describing the foreman’s role as “directly

manag[ing], while he was working, this crew of men,” and making sure that the crew

was “doing their work safely … and properly.”); see Diaz v. Team Oney, Inc., 291



       14
         Larry also testified that working alongside his crew was “a personal choice” he made to
“make sure that my work was done and done right and on time.” L. Coleman Dep., p. 109:4-14.


                                              22
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F. App’x 947, 949 (11th Cir. 2008) (restaurant manager’s “primary duty” was

management of restaurant despite that performing non-managerial tasks like making

and cutting pizza, greeting customers, and cleaning the store where his managerial

duties, including supervising lower employees, apportioning work, and filling out

required paperwork, were “significantly more important” to the operation).

       Third, as noted above, in his role as foreman, Larry customarily and regularly

directed the work of a crew of approximately five to seven men. SOF, ¶ 36.

       Fourth, and in addition, as part of the supervisor’s duties, superintendents and

foremen are generally given discretion to “hire their own guys,” i.e., the work crew,

and make suggestions with respect to pay decisions for their crew. SOF, ¶¶ 21-22.

As a foreman, Larry could make suggestions with respect to the hiring, firing, pay

raise, and change in employment status for his crew. Id.

       In short, the undisputed evidence establishes that Larry was properly

classified as an executive for purposes of the FLSA.15 Accordingly, Defendants are

entitled to summary judgment on Larry’s FLSA claim in Count One.

       15
           Indeed, when asked whether he believed he was appropriately classified as salaried,
Larry testified, “Yeah. Because all the – all the superintendents that [MSB] had was on a salary.”
L. Coleman Dep., p. 345:15-21. He agreed that being a salaried employee “sometimes” had its
“advantages,” because construction work is weather sensitive, i.e., dependent on the weather, and
that as a salaried employee, he was paid his full weekly salary even if weather prevented his crew
from working (whereas hourly employees on his crew would not be paid). Id. at 90:9-91:15.
Further, although he was salaried and exempt from the overtime requirements, during the relevant
time period MSB paid Larry—like all other salaried employees—at his full rate of pay for eight
hours whenever he worked on a Saturday or Sunday. Id. at 94:4-16; 346:19-346:14. Thus, to the
extent that he was improperly classified as exempt, there is no evidence of any damages.



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II.   Plaintiffs’ Race Discrimination Claims Fail as a Matter of Law Because
      Plaintiffs Cannot Establish a Prima Facie Case of Discrimination or
      Rebut Defendants’ Non-Discriminatory Reasons for Their Employment
      Decisions.

      In Counts Two through Nineteen, Plaintiffs bring various claims for racial

discrimination pursuant to Title VII of the Civil Rights Act of 1964 and 42 U.S.C. §

1981. In order to prove such a claim, a plaintiff must produce direct evidence of

discrimination or satisfy the burden-shifting framework established in McDonnell

Douglas Corp. v. Green, 411 U.S. 792 (1973). Brooks v. Cty Com’n of Jefferson

Cty, 446 F.3d 1160, 1162 (11th Cir. 2006).

      Plaintiffs’ race discrimination claims are premised upon allegations that

Plaintiffs (1) were compensated less than similarly situated white employees (Counts

2-7); (2) suffered disparate treatment in the workplace and were subjected to a hostile

work environment (Counts 8-13); and (3) were terminated based on their race

(Counts 14-19). As discussed below, Defendants are entitled to summary judgment

under any of these theories because Plaintiffs cannot establish a prima facie case of

discrimination, and because Defendants acted only for legitimate, non-

discriminatory reasons, which Plaintiffs cannot rebut.

      Because Plaintiffs have no direct evidence of race discrimination, Plaintiffs

must satisfy the McDonnell Douglas framework to survive summary judgment.

Under McDonnell Douglas, a plaintiff must show that (1) he belongs to a racial

minority or another protected class, (2) he was qualified to perform his job or, with


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regard to promotions, applied for and was qualified for a promotion, (3) he was

subjected to an adverse employment action by defendants or was rejected for

promotion despite being qualified, and (4) defendants treated similarly situated

employees outside his racial or protected class more favorably or promoted equally

or less-qualified employees outside of his protected class. Brown v. Ala. Dept. of

Transp., 597 F.3d 1160, 1174 (11th Cir. 2010) (citation omitted).16

       If a plaintiff meets this initial burden, “the burden then shifts to the employer

to produce evidence that its action was taken for a legitimate, non-discriminatory

reason.” Brooks, 446 F.3d at 1162 (citation omitted). After the employer meets its

burden of production, the inquiry “‘proceeds to a new level of specificity,’ in which

the plaintiff must show that the proffered reason really is a pretext for unlawful

discrimination.” Id. Although the burdens shift back and forth, “the ultimate burden

of persuading the trier of fact that the employer intentionally discriminated against

the employee remains at all times with the plaintiff.” Id.

       A.     Disparate Pay.

       In Counts Two through Seven, Plaintiffs allege that they were paid less than

similarly situated white employees. The Eleventh Circuit has recently reiterated that


       16
           For purposes of summary judgment, Defendants do not dispute that Plaintiffs have
established the first and third elements of a prima facie case. They are African Americans and
ostensibly suffered an adverse employment action by being sent home by Shea. As discussed in
Section V, infra, however, to the extent that Larry and Freddie have represented to the Social
Security Administration that they are totally disabled, they are estopped from claiming they were
qualified for their positions.


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“a meaningful comparator analysis must be conducted at the prima facie stage of the

McDonnell Douglas’s burden-shifting framework.” Lewis v. City of Union City,

Ga., 918 F.3d 1213, 1216 (11th Cir. 2019). Thus, to proceed beyond the first stage

of the McDonnel Douglas framework, a plaintiff must prove “that [he] was treated

less favorably than ‘similarly situated’ individuals outside of [his] class.” Id.

      In Lewis, the Eleventh Circuit, sitting en banc, held that the proper standard

for determining “similarly situated” comparators under McDonnell Douglas is

“similarly situated in all material respects.” Id. at 1226 (emphasis added). This

analysis does not turn on “formal labels” but on “substantive likeness.” Id. at 1227.

A valid similarly situated comparator typically “will have engaged in the same basic

conduct (or misconduct) as the plaintiff”; “will have been subject to the same

employment policy, guideline, or rule as the plaintiff”; “will ordinarily (although not

invariably) have been under the jurisdiction of the same supervisor as the plaintiff”;

and “will share the plaintiff’s employment or disciplinary history.” Id. at 1227-28.

      In this case, the “similarly situated” comparator analysis is where Plaintiffs’

disparate pay claims start and end. Despite two years of discovery, Plaintiffs have

not identified any valid “similarly situated” employees who were treated more

favorably. Instead, Plaintiffs attempt to compare themselves indiscriminately to any

other MSB employee with a similar title, without regard to specifics like the type of




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project (i.e., pile driving vs. drilling), location of the project, skill level, licensure,

experience, or the superintendent for whom the supposed comparators worked.

       For example, with respect to Larry, Plaintiffs proffered a list of thirteen

foreman purportedly “similarly situated” to Larry. However, Larry is the only

foreman on the list who worked exclusively as a pile-driving foreman, with all of

the others either being a drill foreman, or one who worked both as a drill and pile-

driving foreman, or not a foreman at all. See Declaration of Shane Moore (“Moore

Dec.”), Exhibit U, ¶¶ 2-4. None are “similarly situated” to Larry. See Lewis, 918

F.3d 1227-28 (valid comparator will “share the plaintiff’s employment … history”).

       Likewise, Plaintiffs’ proffered list of operators purportedly similarly situated

to Chester fails to identify a single valid comparator. Only six operators (including

Chester) out of the 16 listed are crane operators (rather than drill rig operators),

meaning the remaining 10 are not similarly situated to Chester. Ex. U, Moore Dec.,

at ¶¶ 7-8. And of the five remaining purported comparators, Chester is the only one

that is not NCCCO- or CIC-licensed. Id. Accordingly, none of Plaintiffs’ purported

comparators are similarly situated to Chester. See Lewis, 918 F.3d 1227-28.

       For Freddie, Plaintiffs have failed to identify any similarly situated

comparators whom they claim were treated more favorably.17 As noted above, it is

Plaintiffs’ burden, as part of their prima facie case, to prove that they were treated


       17
            Ex. A, R. Shea Dec., ¶¶ 19-22 (Freddie was not paid less than comparable employees).


                                                27
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less favorably than similarly situated employees outside of their protected class, see

Lewis, 918 F.3d at 1216, and thus, Plaintiffs’ failure to do so is fatal to their claims.

       In any event, the undisputed evidence establishes that Plaintiffs’ rates of pay

fell well within the normal range. Even on Plaintiffs’ purported comparator lists—

which are not valid comparators at all—Plaintiffs’ rates of pay do not fall outside of

the norm. On the Foreman list, rates of pay range from $26 to $60, with Larry’s rate

of $35 falling within that range. Ex. V, Moore Dec., at its Ex. A. Chester’s rate of

$25 likewise, falls at the exact midpoint of the Operators list, with the highest rate

of pay being $32 and the lowest being $18, even though Chester was the only crane

operator without an NCCCO or CIC license. Id. at its Ex. B.

       And when valid comparators are considered, it becomes clear that Plaintiffs

were treated equal to—if not better—than similarly situated employees.                  For

example, MSB employed three pile-driving foremen from 2012 to April 2017: Larry

Coleman, Tony Dennis, and John Mobley. See Ex. A, R. Shea Dec., at its Ex. C

(MSB 6105). Of these three, Larry was the highest paid, with a rate of pay of $35

as compared to Dennis at $30 and Mobley at $25. Id. The rates of pay for operators

on pile-driving jobs from 2012 to 2017 reflects only one operator, Ricky Hiers

($30),18 making more than Chester ($25), with the remaining making between $14


       18
         Hiers had his NCCCO crane license, whereas Chester did not. See Ex. J, Moore Dep.,
pp. 100:10-20; 129: 13-132:6. Therefore, Hiers and Chester Coleman are not valid comparators
under Lewis.


                                            28
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and $25. Id. at its Ex. A (MSB 6100-6101). Pay rates for welders on pile-driving

jobs from 2012 to 2017 ranged from $14 to $20. Id. at its Ex. B (MSB 6106). As a

welder, Freddie was making $20.50, the highest among those similarly situated. Id.

      The undisputed evidence also establishes that Plaintiffs’ per diems were

comparable to similarly situated employees. For example, while assigned to the

TECO Project, Larry received a per diem between $75 and $85 depending on the

time of year. See SOF, ¶ 53. Larry’s superiors on the project, Dubberly and Sam

Gardner, both white superintendents (above a foreman), received the same $75 to

$85 per diem throughout the TECO Project, and Tony Dennis, a white foreman, on

the other hand, received between $65 and $75 per diem throughout the TECO

Project. SOF, ¶ 54; see also Ex. N. Chester and Freddie’s per diems were slightly

lower at $65-$75 and $50-$70, respectively, as expected for non-supervisors, and

their rates were comparable to other crew members. SOF, ¶ 54; see also Ex. N.

      In sum, Plaintiffs have not established that they were paid less than similarly

situated white employees, either in pay or per diem. Accordingly, Defendants are

entitled to summary judgment on the disparate pay claims.




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       B.      Disparate Treatment in the Workplace.

       In Counts Eight through Thirteen, Plaintiffs allege that they suffered disparate

treatment in the workplace and were subjected to a hostile work environment.19 To

sustain a hostile work environment claim, a plaintiff must show that: (1) he belongs

to a protected group; (2) he has been subject to unwelcome harassment; (3) the

harassment was based on a protected characteristic of the employee such as race; (4)

the harassment was sufficiently “severe or pervasive to alter the terms and conditions

of employment” and created an “abusive working environment”; and (5) the

employer is responsible for such environment under vicarious or direct liability. See

Miller v. Kenworth of Dothan, Inc., 277 F. 3d 1269, 1275 (11th Cir. 2002).

       The fourth element—that the harassment was so “severe or pervasive” to alter

the employee’s condition of employment—includes both a subjective and objective

component. Id. The objective inquiry considers the “totality of the circumstances,”

including the frequency and severity of the conduct; whether the conduct was

physically threatening or humiliating or a “mere offensive utterance”; and whether

the conduct unreasonably interferes with the employee’s job performance. Id.

“‘[S]imple teasing, offhand comments, and isolated incidents (unless extremely

serious) will not amount to discriminatory changes in the terms and conditions of


       19
          As part of their “disparate treatment” claims, Plaintiffs allege that they were paid less
than similarly situated white employees and terminated because of their race. These allegations
are addressed in Section II.A and II.C, respectively.


                                                30
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employment.’” Mahone v. CSX Trans., Inc., 652 Fed. App’x 820, 823 (11th Cir.

2016) (quoting Faragher v. City of Boca Raton, 524 U.S. 775, 778 (1998)).

       The crux of Plaintiffs’ hostile work environment claim is that Lee Dubberly,

the superintendent on many of their jobs, used profanity and racial slurs on job sites.

When pressed on this claim in their depositions, however, Plaintiffs only described

isolated incidents and offhand comments that fall far short of a hostile work

environment so “severe or pervasive” to change the terms and conditions of their

employment, as required to prevail under Title VII or § 1981.

       Specifically, Freddie testified that he heard Lee Dubberly use the word

“nigger” “once,” but later clarified that Dubberly used the phrase “black ass.” Ex.

L, Seltzer Dep., pp. 99:18-101:8. Other than this isolated incident, Freddie was not

aware of any other times that Dubberly used “racially offensive language.” Id. at

102:6-9. Chester testified that “every once in a while [Dubberly would] … call us

boys,” which Chester did not think was “right” because “every man out there” was

over 21 and it “wasn’t professional.” Ex. I, C. Coleman Dep., p. 76:13-23.20 He

could not say when these incidents, only occurred it happened “on several occasions

on jobs.” Id. at 77:1-6. When pressed for any other alleged discriminatory conduct




       20
           Notably, the phrase “boys” was applied to the crew collectively as a whole, and no
individual was called “boy” individually. Ex. E, Dubberly Dep. II, 19:17-21.



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by Dubberly, Chester replied, “That’s basically just that, you know[.]” Id. at 80:6-

14.21

        As noted above, “isolated incidents” and “offhand comments” like those

described by Plaintiffs do “not amount to discriminatory changes in the terms and

conditions of [Plaintiffs’] employment.” See Mahone, 652 Fed. App’x at 823; cf.,

e.g., Miller, 277 F.3d at 1275 (supervisor’s “hurl[ing] ethnic slurs at [plaintiff] three

to four times a day” for period of one month while plaintiff and supervisor worked

together was considered “frequent”). And while Freddie claimed that Dubberly used

profanity on the job site, Freddie agreed that Dubberly used it toward both white and

black employees, Ex. L, Seltzer Dep., pp. 97:9-98:8, which is insufficient. See, e.g.,

Brennan v. Metro. Opera Ass'n, 192 F.3d 310, 318 (2d Cir. 1999) (“[A]n

environment which is equally harsh for both men and women or for both young and

old does not constitute a hostile work environment under the civil rights statutes.”).

        Larry’s complaints against Dubberly also do not rise to the level of a hostile

work environment. Larry testified that Dubberly referred to African American men

on his crew as “boys,” which he claimed he and others did not appreciate.22 Ex. G,


        21
          Chester testified that Dubberly also called him “Chestine” as a nickname because Chester
wore an earring for a period of time. Ex. I, C. Coleman Dep., pp. 80:6-81:6. Of course, wearing
an earring is not a “protected characteristic” and thus any such teasing cannot form the basis of a
racial harassment claim. See Miller, 277 F.3d at 1275 (prima facie case requires showing that the
harassment is “based on a protected characteristic of the employee, such as national origin”).
        22
         It is worth noting that Dubberly agreed that he would call his crew, which included both
white and black employees, as “boys,” but he vehemently denied that he used the term “boy” as to


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L. Coleman Dep., pp. 280:12-281:7. He also claimed Dubberly occasionally told

“racial jokes,” id. at p. 282:6-20, but when pressed for details, he could not provide

any and said Dubberly “tried to base it on a way that it wasn’t racial” and described

it instead as “hidden racism.” Id. at 283:19-284:10. Larry also claimed that

Dubberly once told several African American employees “he would kill them” if

they got hurt on the job, but Larry clarified that this incident occurred in a “safety

meeting” and that Dubberly was “sort of making a joke about it.” Id. at 291:10-

292:20. And while Larry testified that Dubberly called African American employees

“niggers,” when questioned for details, he clarified that he “never did hear [Dubberly

say it] because he wasn’t going to say it in front of me.” Id. at 295:2-8.

       While Larry subjectively may have found these incidents offensive, the

“totality of the circumstances” do not show a hostile work environment. For one,

other than Dubberly referring collectively to his crew as “boys,” the incidents

described by Larry were isolated in nature and at most akin to “mere offensive

utterances.” See Miller, 277 F.3d at 1275. Further, although Larry said he was

bothered by Dubberly calling the crew “boys,” no one reported it and Larry did not


any individual or as a racial slur. Ex. E, Dubberly Dep. II, pp. 18:14-19:21; 178:17-180:5. Further,
although Larry claimed he found the term racially offensive, he used it several times throughout
his own deposition to refer to other MSB employees. Ex. G, L. Coleman Dep., p. 114:19-23 (“Q:
And who was the name of the white guy who tore the door off the machine? A: What’s that boy’s
name? All I know is – they call him by a nickname.”); id. at 153:13-21 (“There was another guy
there that was … working there along with his son-in-law. What that boy name? The man name
– I can’t remember his name …”); id at 370:12-14 (“Dick Shea sent me on jobs with Lee Dubberly
after the boy got hurt down there …”).


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describe any way in which this conduct “unreasonably interfered” with his job

performance. See id. (“[R]epeated incidents of verbal harassment that continue

despite the employee’s objections … are indicative of a hostile work environment.”).

       For the same reasons, Larry’s allegation that Dick Shea supposedly once told

him he had a “strike against” him because he was black and warned him not to

become “nigger rich” fails to establish that Shea created a hostile work environment.

Further, Larry testified that this incident occurred at a job in Bowater, Tennessee,

which was decades ago, remote in time, and well before Larry’s most recent

employment with MSB.23 And the overwhelming evidence is to the contrary.

Chester, for example, testified that Shea “never used racial slurs,” and that prior to

Shea sending the Plaintiffs home, “you couldn’t tell me nothing bad about [Dick

Shea] of what he did.” Ex. I, C. Coleman Dep., p: 81:13-8219. Indeed, when

Chester got cancer in 2014, Shea told him “we’re going to take care of you,” id. at

29:23-30:12, and MSB continued to pay Chester for an entire year while he was

unable to work. SOF, ¶ 47. Freddie also testified that Shea let Freddie and his

brothers fish on lake property after work while they were working there. SOF, ¶ 60.


       23
          Larry quit MSB in 2014 to go to work for a competitor, but after several months reapplied
and was rehired. Thus, this allegation relates to a prior stint with MSB, not the employment at
issue. Further, the allegation that Dick Shea’s alleged comments created an intolerable work
environment are implausible, given that Larry quit Berkel in 2014 and reapplied and was hired
again by MSB. See Scott v. Harris, 550 U.S. 372, 381 (2007) (“When opposing parties tell two
different stories, one of which is blatantly contradicted by the record, so that no reasonable jury
could believe it, a court should not adopt that version of the facts for purposes of ruling on a motion
for summary judgment.”).


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      Courts must be mindful that Title VII and § 1981 are not a “general civility

code” that makes “ordinary tribulations of the working place” actionable. Cotton v.

Cracker Barrel Old Country Store, Inc., 434 F. 3d 1227, 1234 (11th Cir. 2006). That

is all Plaintiffs have alleged here. Accordingly, their hostile work claims fail.

      Likewise, to the extent Plaintiffs claim that they were denied advancements

and promotions, Plaintiffs have failed to come forward with any similarly situated

comparators who received promotions and advancement opportunities that Plaintiffs

were denied, which, as discussed above, is fatal to their claims. Further, these claims

are belied by Plaintiffs’ own testimony. Larry testified that in all his time at MSB

he never asked for a promotion and instead MSB “just elevated [him]” at various

times over the years. SOF, ¶ 39. Chester, likewise, testified he “hadn’t asked for [a

promotion]” to become a superintendent, the only position he believed was higher

than operator, or any other promotions during his employment. SOF, ¶ 46. Freddie

testified that he wanted to be promoted to foreman, but the only person at MSB that

he told was his brother, Larry Coleman, who never “followed through.” SOF, ¶ 51.

Freddie confirmed that there were no other jobs that he was denied. Id. Plaintiffs

also testified that they never asked for additional training from MSB and were

denied. SOF ¶¶ 39, 46, 51. Thus, based on their own testimony, Plaintiffs were not

denied any advancement opportunities to which they believed they were entitled.




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      C.     Termination.

      In Counts Fourteen through Nineteen, Plaintiffs claim that they were

terminated from MSB because of their race. To establish a prima facie case,

Plaintiffs must establish that they were replaced by someone outside of their

protected class or that they received less favorable treatment than a similarly situated

employee. Flowers v. Troup Cty, Ga., School District, 803 F.3d 1327, 1336 (11th

Cir. 2015). Plaintiffs can establish neither fact here.

      As an initial matter, all three Plaintiffs testified that Shea sent them home

because Shea believed Freddie and Chester took too long for lunch. See SOF, ¶¶

67-69. While Plaintiffs may dispute that Freddie and Chester took too long, that is

immaterial, as the reason identified by Plaintiffs is entirely race neutral.

      Moreover, although two of the individuals that replaced Plaintiffs are white,

one of the individuals, Larry Young, is black. SOF, ¶ 72. This fact alone refutes

Plaintiffs’ assertion that the termination was motivated by race. To the contrary, it

is consistent with Shea’s testimony that he was concerned about work ethic, not the

race of the employees.

      Additionally, Plaintiffs cannot establish that they received less favorable

treatment than other similarly situated employees outside of their protected class.

As relevant to this analysis, the Lewis Court advised that a valid comparator will

“have engaged in the same basic conduct (or misconduct) as the plaintiff,” and



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“ordinarily (although not invariably) have been under the jurisdiction of the same

supervisor as the plaintiff.” Lewis, 918 F.3d at 1227 (citations omitted).

       Here, Plaintiffs broadly assert that white employees failed drug tests and were

late to work without suffering termination, but they do not allege that they received

less favorable treatment for the same conduct, i.e., that they were terminated because

they failed a drug test or because they were late.24 Instead, Plaintiffs claim that Shea

thought (correctly or not) that Chester and Freddie took too long for lunch and sent

them home, which they did not believe was “fair” or a valid reason. According to

Larry, “nothing out of the ordinary was done for us to go home … because we had

been on other jobs and we took longer than 30 minutes for lunch but … we’ll work

longer to make up for the time ….” Ex. G, L. Coleman Dep., p. 186:14-187:4.

       The problem with this rationale is two-fold. First, the fact that Plaintiffs

themselves regularly took excessively long lunch breaks on previous occasions does

not establish discrimination in this instance; rather, it confirms Shea’s observation

that Plaintiffs had gotten slack in their work ethic. Second, Plaintiffs have not

identified any similarly situated employees who engaged in the same conduct, i.e.,

excessive lunch or other breaks under the supervision of Dick Shea. See Lewis, 918

F.3d at 1227 (“[D]isciplinary measures undertaken by different supervisors may not

       24
          Of course, even this claim is contradicted by the evidence. Chester, for example, failed
a drug test in 1993, and was reprimanded on several occasions for workplace safety violations. In
addition, he was written up for being absent without prior approval. See Ex. F, at 00349, 00351,
00354, 00391, 00392.


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be comparable for purposes of Title VII analysis”) (citation omitted); see also Hester

v. Univ. of Ala. Birmingham Hosp., 798 Fed. App’x 453, 457 (11th Cir. 2020)

(purported comparator was not “similarly situated in all material respects” where

comparator, among other things, answered to a different supervisor); Hill v.

Houtchens Food Grp. Inc., No. 1:19-cv-103-KD-C, 2020 WL 2550366, at *8 (S.D.

Ala. May 27, 2020) (same); Chapman v. Alabama, No. 7:17-cv-01631-LSC, 2019

WL 526329, at *8 (N.D. Ala. Oct. 17, 2019) (“key consideration” in the comparator

analysis “is whether the shared supervisor … conducted disciplinary proceedings for

both [the plaintiff] and [his] comparators”).

      Further, even assuming, arguendo, that Plaintiffs can establish a prima facie

case of discrimination, MSB has provided a legitimate, non-discriminatory reason

for sending Plaintiffs home from the Shea Residence Project. The undisputed

evidence establishes that Shea sent Plaintiffs home because he thought they took too

long for lunch. SOF, ¶¶ 67-69. This decision grew out of Shea’s frustration with

what he perceived to be Plaintiffs’ poor work ethic and attitude—problems that first

arose during the Mountain Lake Farms Project and continued during the Shea

Residence Project. SOF, ¶¶ 61-62. According to Shea, he wanted Plaintiffs to “think

about what they’re doing” and come back to work after reflection. SOF, ¶ 70.

      To establish pretext, a plaintiff must demonstrate “such weaknesses,

implausibilities, inconsistencies, incoherencies, or contradictions in the employer’s



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proffered legitimate reasons for its action that a reasonable factfinder could find

them unworthy of credence.” Alvarez v. Royal Atl. Developers, Inc., 610 F.3d 1253,

1265 (11th Cir. 2010) (quoting Combs v. Plantation Patterns, 106 F.3d 1519, 1538

(11th Cir. 1997)).25 “A plaintiff is not allowed to recast an employer’s proffered

nondiscriminatory reasons or substitute [his] business judgment for that of the

employer. Provided that the proffered reason is one that might motivate a reasonable

employer, an employee must meet that reason head on and rebut it, and [he] cannot

succeed by simply quarreling with the wisdom of that reason.” Chapman v. AI

Transp., 229 F.3d 1012, 1030 (11th Cir. 2000) (en banc).

       While Plaintiffs may disagree with Shea’s decision, they have failed to

provide any facts to rebut MSB’s stated reason as a pretext for illegal discrimination.

In evaluating Title VII claims, federal courts are not “super-personnel departments”

assessing “the wisdom of an employer’s business decision—indeed the wisdom of

them is irrelevant—as long as those decisions were not made with a discriminatory

motive.” Alvarez, 610 F.3d at 1266. “That is true ‘[n]o matter how medieval a

[company]’s practices, no matter how high-handed its decisional process, no matter

how mistaken the [company]’s managers.’”                 Id. (internal citations omitted).

“[E]mployers are free to fire their employees ‘for a good reason, a bad reason, a

       25
          Indeed, Freddie testified that when he and Chester returned from the convenience store
with their lunch, Larry approached them as asked them whether they were “going to take all day”
and then told them that Shea was “down the hill mad.” SOF ¶ 67. Freddie said he later learned
from Larry that Shea “said [they were] late for coming back from lunch.” Id.


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reason based on erroneous facts, or for no reason at all, as long as its action is not

for a discriminatory reason.’” Flowers, 803 F.3d at 1338 (quoting Nix v. WLCY

Radio/Rahall Commc’ns, 738 F.2d 1181, 1187 (11th Cir. 1984)). Plaintiffs have not

established and cannot establish that they were terminated based on race.

III.   Plaintiffs’ Age Discrimination Claims Fail as a Matter of Law Because
       Plaintiffs Cannot Establish a Prima Facie Case of Discrimination or
       Rebut Defendants’ Non-Discriminatory Reasons for their Employment
       Decisions.

       In Counts Twenty through Twenty-Two, Plaintiffs claim that they terminated

because of their age in violation of the Age Discrimination in Employment Act

(“ADEA”), 29 U.S.C. §§ 621-34. As relevant here, the ADEA makes it “unlawful

for an employer to … discharge any individual … because of such individual’s age.”

§ 623(a)(1). Liability under the ADEA turns on whether the plaintiff’s age “actually

motivated the employer’s decision.” Chapman, 229 F.3d at 1024 (quoting Reeves

v. Sanderson Plumbing Products, Inc., 530 U.S. 133, 142 (U.S. 2000)). In other

words, the plaintiff “must prove that discrimination was the ‘but-for’ cause of the

adverse employment action.” Sims v. MVM, Inc., 704 F.3d 1327, 1332 (11th Cir.

2013) (citing Gross v. FBL Financial Servs., Inc., 557 U.S. 167, 176 (2009)).26




       26
         As a threshold, Plaintiffs’ ADEA claims fail because, by Plaintiffs’ own testimony, they
were sent home because Shea thought they had taken too long for lunch, not because of their age.
SOF ¶ 67-69.


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       As with Title VII claims, the Eleventh Circuit has adopted the McDonnell

Douglas framework to analyze ADEA claims based on circumstantial evidence.

Liebman v. Metro Life Ins. Co., 808 F.3d 1294, 1298 (11th Cir. 2015). To establish

a prima facie case, the plaintiff must show that he (1) is a member of the protected

age group (i.e., over the age of forty); (2) was qualified for the position; (3) suffered

an adverse employment action; and (4) was replaced by a substantially younger

person. See Kragor v. Takeda Pharm. Am., Inc., 702 F.3d 1304, 1308 (11th Cir.

2012). Because Plaintiffs have put forth no direct evidence of age discrimination,

the McDonnell Douglas framework is appropriate to analyze their claims.

       Defendants do not dispute that Plaintiffs have established the first and third

elements of a prima facie case of discrimination—they were over the age of forty,

and ostensibly suffered an adverse employment action; however, Plaintiffs cannot

establish that they were replaced by a substantially younger person as required to

meet their initial burden.27 See, e.g., Kragor, 702 F.3d at 1308. Plaintiffs were

replaced by Sam Gardner, a 54-year-old; Larry Young, a 46-year-old; and Tony

Dennis, a 44-year-old.         SOF, ¶ 72.        Thus, contrary to Plaintiffs’ claims of

“significant” age differences, all three replacements were over the age of forty, and

one replacement—Sam Gardner—was older than Freddie, who was 52 at the time.

       27
          In addition, as discussed in Section V, infra, to the extent Larry and Freddie have
successfully obtained disability benefits based on the finding that they are totally disabled, they
are estopped to claim that they are qualified for their positions.



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      Moreover, Plaintiffs’ claim fails because they cannot prove that their age was

the cause, let alone the “but-for” cause, of their termination. See Sims, 704 F.3d at

1334. Larry was 56 years old when he was rehired by MSB in 2014, and he was 57,

Chester was 53, and Freddie was 49 when they were assigned to the TECO Project.

And unlike a large number of other MSB employees, many of whom were younger

than Plaintiffs, Plaintiffs were not laid off following the TECO Project. Instead,

MSB attempted to retain them until the next customer project by assigning them to

two special projects, even though there was no paying customer and the cost was

borne by Dick Shea personally. There is no evidence to establish that age played a

role in Plaintiffs’ termination, much less that it was the “but-for” cause.

      Likewise, there is no evidence of pretext. As set forth above, Plaintiffs were

sent home after Shea grew frustrated by his perception of Plaintiffs’ poor work ethic.

The Eleventh Circuit has held that a plaintiff may not prove pretext by simply

“recast[ing] an employer’s proffered non[-]discriminatory reason or substitut[ing]

his business judgment for that of the employer.” Chapman, 229 F.3d at 1030. If the

proffered reason is one that “might motivate a reasonable employer, an employee

must meet that reason head on and rebut it[.]” Id.

      While Plaintiffs may disagree with the characterization of their job

performance, they (a) all testified they were sent home because Dick Shea thought

Freddie and Chester had taken too long for lunch (nothing to do with age) and (b)



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have failed to provide any facts to rebut MSB’s proffered reason. And the evidence

is to the contrary. In addition to hiring Plaintiffs for the Mountain Lake Farms

Project and Shea Residence Project, all three of whom were over the age of 50 at the

time, MSB also assigned to the same project Dubberly, who is 74 years old. There

are no facts to suggest that age motivated these employment decisions. Plaintiffs

have not met and cannot meet their burden to establish pretext.

IV.   Chester Coleman’s Back Pay Damages, if any, Are Cut Off by MSB’s
      Offer of Reinstatement.

      Under Title VII, § 1981, and the ADEA, plaintiffs are “required to mitigate

damages by being reasonably diligent in seeking employment substantially

equivalent to the position [they were] denied.” See Weatherly v. Alabama State

Univ., 728 F.3d 1263, 1272 (11th Cir. 2013). Further, “absent special circumstances,

the rejection of an employer’s unconditional job offer ends the accrual of potential

backpay liability.” Ford Motor Co., Inc. v. EEOC, 458 U.S. 219, 241 (1982); see

also Cowen v. Standard Brands, Inc., 572 F. Supp. 1576 (N.D. Ala. 1983) (ADEA

plaintiff relinquished backpay by refusing employer’s offer of reinstatement).

      The undisputed evidence is that approximately one month after Plaintiffs were

sent home from the Richard Shea Residence project, MSB called Chester to ask him

to come back to work on a new project, and Chester declined because he “had

another job lined up.” SOF, ¶ 77. Thus, Chester’s backpay damages, if any, are




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barred beyond this point due to his rejection of MSB’s job offer and failure to

mitigate his damages. See, e.g., Ford Motor Co., 458 U.S. at 241.

V.    Larry Coleman and Freddie Seltzer Are Estopped from Claiming They
      Are Qualified for Their Positions Based on Their Representations to the
      Social Security Administration.

      Judicial estoppel “prevents a party from asserting a factual position in a legal

proceeding that is contrary to a position previously taken by [that party] in a prior

legal proceeding.” Robinson v. Concentra Health Servs., Inc., 781 F.3d 42, 46 (2nd

Cir. 2015). In the context of employment discrimination cases, a plaintiff who

successfully applies for disability benefits is estopped from taking a contradictory

position in a subsequent discrimination case. See id. While a successful disability

application does not automatically preclude a later discrimination claim, plaintiffs

“cannot simply ignore the apparent contradiction that arises out of the earlier … total

disability claim” and “must proffer a sufficient explanation” for the conflicting

statements to survive summary judgment.          Robinson, 781 F.3d at 46 (citing

Cleveland v. Policy Mgmt Sys. Corp., 526 U.S. 795 (1999)).

      Larry and Freddie have represented to the Social Security Administration

(“SSA”) that they are totally disabled and both are receiving benefits from the SSA

based on those claims. SOF, ¶ 79. Freddie represented to the SSA that he has been

totally disabled since March 30, 2017—prior to his alleged termination from MSB—

and has been receiving benefits based on this date. Id. Freddie’s representations to



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the SSA, and the SSA’s disability determination based upon those representations,

conclusively establish that Freddie was not qualified for his job since at least March

30, 2017, and he should be estopped from taking a contrary position in this case.

Thus, Freddie cannot establish an element of his prima facie case—that he was

qualified for his position—under any theory of discrimination.

      Larry, likewise, is estopped from taking a position contrary to his

representations to the SSA. Defendants have been unable to obtain his complete

SSA disability file to determine the date of his disability or the precise

representations he made in his application. However, it is undisputed that Larry also

applied for disability benefits and is receiving them. SOF, ¶ 79. Accordingly, to the

extent Larry has represented to the SSA that he is totally disabled, he too should be

estopped from taking a contrary position in this litigation.

                                    CONCLUSION

      For the reasons set forth above, Defendants respectfully request that the Court

enter judgment in favor of Defendants on all of Plaintiffs’ claims.



                                               s/ E. Glenn Waldrop, Jr.
                                               One of the Attorneys for Defendants
                                               Morris-Shea Bridge Co., Inc. and
                                               Richard J. Shea, Jr.




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OF COUNSEL:

E. Glenn Waldrop, Jr. (WALDG7740)
gwaldrop@lightfootlaw.com
Kevin E. Clark (CLARK3281)
kclark@lightfootlaw.com
Amie A. Vague (VAGUA4113)
avague@lightfootlaw.com
LIGHTFOOT, FRANKLIN & WHITE, LLC
The Clark Building
400 North 20th Street
Birmingham, AL 35203-3200
Telephone: (205) 581-0700
Facsimile: (205) 581-0799




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                         CERTIFICATE OF SERVICE

      This is to certify that on this 17th day of August 2020, the foregoing was
served on all parties of record by electronic filing with the Court’s CM/ECF system:

      Alicia K. Haynes, Esq.
      akhaynes@haynes-haynes.com
      Haynes & Haynes, P.C.
      1600 Woodmere Drive
      Birmingham, Alabama 35226

      Heather Newsome Leonard, Esq.
      heather@heatherleonardPC.com
      Heather Leonard, P.C.
      P.O. Box 43768
      Birmingham, Alabama 35243

      Cynthia Forman Wilkinson, Esq.
      wilkinsononefile@wilkinsonfirm.net
      Wilkinson Law Firm, P.C.
      215 Richard Arrington Jr. Blvd, Suite 200
      Birmingham, Alabama 35203

      Attorneys for Plaintiffs Larry Coleman,
      Chester Coleman, and Freddie Seltzer


                                                   s/ E. Glenn Waldrop, Jr.
                                                   Of Counsel




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